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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
          v.                        )                 4:07CR3036
                                    )
JOSEPH ROBERT MORANDO and           )
JOSE M. LLAMAS,                     )
                                    )                    ORDER
                Defendants.         )
                                    )



     IT IS ORDERED:

     Defendant Morando’s motion to set for trial, filing 59, is
granted, and

     1. This matter is placed back on the trial docket and trial
will be held with the trial of co-defendant Jose M. Llamas at
9:00 a.m., January 7, 2008, before the Honorable Richard G. Kopf
in Courtroom 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. Jury selection
will be held at commencement of trial.

     2. The change of plea hearing which was set for
November 15, 2007 as to defendant Morando is cancelled.

     DATED this 14th day of November, 2007.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
